      Case 1:10-cr-00212-DAD Document 75 Filed 03/07/11 Page 1 of 1


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 4
                      IN THE UNITED STATES DISTRICT COURT
 5
                          EASTERN DISTRICT OF CALIFORNIA
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 7
 8   UNITED STATES OF AMERICA,              )       CR-1:10-CR-00212 LJO
                                            )
 9           Plaintiff,                     )       ORDER TO RE-SET
                                            )       SENTENCING DATE TO
10                                          )       5/27/11 at 8:30 a.m.
             v.                             )
11                                          )
                                            )
12                                          )
                                            )
13   ARMANDO TOLEDO,                        )
                                            )
14           Defendant.                     )
                                            )
15
             Based on the stipulation between counsel and the declaration of
16
     KATHERINE concerning scheduling difficulties, it is hereby ordered that the
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     sentencing in the case of U.S. v. ARMANDO TOLEDO will be set as follows:
18
             Sentencing: May 27, 2011 at 8:30 a.m.
19
             Objections to be filed with Court and Served on United States Probation
20
     and the Office of the United States Attorney: May 20, 2011;
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             Informal Objections due to Probation and United States Attorney: May 6,
22
     2011;
23
             Report Available: April 22, 2011
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     IT IS SO ORDERED.
25
     Dated:       March 7, 2011             /s/ Lawrence J. O'Neill
26   b9ed48                             UNITED STATES DISTRICT JUDGE
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28                                              1
